289 F.2d 494
    John Albert HATSCHNERv.UNITED STATES of America.
    No. 6712.
    United States Court of Appeals Tenth Circuit.
    April 10, 1961.
    
      Appeal from the United States District Court for the District of Colorado.
      No attorney for appellant.
      Donald G. Brotzman, U. S. Atty., and D. L. Giacomini, Asst. U. S. Atty., Denver, Colo., for appellee.
      Before MURRAH, Chief Judge, and LEWIS and BREITENSTEIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Docketed and dismissed on motion of appellee, for failure of appellant diligently to prosecute the same.
    
    